                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION


HUGH M. ELLIS,

                       Plaintiff,

v.
                                                        Case No. 6:19-cv-03377-SRB
RK ENDEAVORS SPRINGFIELD, LLC
d/b/a CBD AMERICAN SHAMAN,
and
SHAMAN BOTANICALS, INC.,

                       Defendants.



               DEFENDANT SHAMAN BOTANICALS, INC.’S
     SUGGESTIONS IN OPPOSITION TO PLAINTIFF’S MOTION TO REMAND

       Defendant Shaman Botanicals, Inc. submits the following suggestions in opposition to

Plaintiff Hugh Ellis’ Motion to Remand and Assess Costs and Expenses (Doc. #6), filed Novem-

ber 12, 2019.

                                           Introduction

       Plaintiff claims that Shaman Botanicals unlawfully possessed and distributed hemp-based

CBD products because it received those products outside the State of Missouri from a third-party

manufacturer through interstate commerce. Taken to their logical conclusion, these claims would

prevent Missouri companies like Shaman Botanicals from ever conducting hemp-related business

in interstate commerce. This violates the 2018 Farm Bill, which expressly prohibits States from

interfering with transportation and shipment of hemp in interstate commerce. Because Plaintiff’s

claims raise this substantial federal issue, the Court has subject matter jurisdiction over the case.

Plaintiff’s Motion to Remand should therefore be denied.


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                                     Argument and Authorities

        Plaintiff’s motion focuses almost entirely on the matter of complete preemption, all but

ignoring the fact that federal question jurisdiction separately arises when “an issue of federal law

is a necessary and central element of plaintiff’s state law claims.” Palazzolo v. Harris-Stowe State

Univ., No. 4:16-CV-00826, 2106 WL 3878470, at *2 (E.D. Mo. July 18, 2016). This separate ba-

sis for federal jurisdiction is often called the substantial-federal-question doctrine. See, e.g., Dooley

v. Medtronic, Inc., 39 F. Supp. 3d 973, 981 (W.D. Tenn. 2014) (“[U]nder the substantial-federal-

question doctrine, federal question jurisdiction exists when ‘the state-law claim necessarily states

a federal issue, actually disputed and substantial, which a federal forum may entertain without

disturbing the balance of federal and state judicial responsibilities.’” (quoting Grable & Sons Met-

al Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 308 (2005)) (internal brackets omitted)). In

responding to the motion to remand, Shaman Botanicals will not argue complete preemption, but

will instead focus on the separate standard for establishing federal jurisdiction based on the sub-

stantial question of federal law inherent in Plaintiff’s claims.

I.      The Court Should Deny the Motion to Remand Because Plaintiff’s Claims Against
        Shaman Botanicals Involve a Substantial Federal Question that Supports Federal
        Jurisdiction

        The federal question statute states that federal district courts “shall have original jurisdic-

tion of all civil actions arising under the Constitution, laws, or treaties of the United States.” 28

U.S.C. § 1331. It is well recognized that “a state law cause of action may arise under federal law

where ‘the vindication of a right under state law necessarily turns on some construction of federal

law.’” Dooley, 39 F. Supp. 3d at 982 (quoting Franchise Tax Bd. v. Constr. Laborers Vacation Trust

for S. Cal., 463 U.S. 1, 9 (1983) (internal brackets omitted)). In that situation, “state law supplies

the cause of action but federal courts have jurisdiction under § 1331 because ‘the plaintiff’s right

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to relief necessarily depends on resolution of a substantial question of federal law.’” Burrell v.

Bayer Corp., 918 F.3d 372, 380 (4th Cir. 2019) (quoting Franchise Tax Bd., 463 U.S. at 28); see

also 36 C.J.S. Federal Courts § 98 (2014) (“Even when a right of action is created by state law, if it

requires resolution of significant issues of federal law, it may ‘arise under’ federal law so as to be

one over which a court can exercise federal question jurisdiction.”).

        The jurisdictional analysis utilizes a four-part test: “federal jurisdiction over a state law

claim will lie if a federal issue is: (1) necessarily raised, (2) actually disputed, (3) substantial, and

(4) capable of resolution in federal court without disrupting the federal-state balance approved by

Congress.” Gunn v. Minton, 568 U.S. 251, 258 (2013). “If the Gunn test is met, a case ‘aris[es]

under federal law regardless of whether the cause of action itself has its genesis in state law.’”

Pagidas v. Buster, No. 16-390S, 2016 WL 11545018, at *4 (D.R.I. Nov. 16, 2016) (quoting R.I.

Fishermen’s Alliance, Inc. v. R.I. Dep’t of Envtl. Mgmt., 585 F.3d 42, 50 (1st Cir. 2009)). Here, all

four requirements for the exercise of federal jurisdiction are satisfied.

        Plaintiff’s claims necessarily raise an issue of federal law. As outlined in the Notice of

Removal (Doc. #1), Plaintiff alleges that Shaman Botanicals unlawfully possessed and unlawfully

distributed “hemp extract” because it obtained hemp-based CBD products from sources outside

the Missouri Department of Agriculture’s registration system for “cultivation and production

facilities” and “cannabidiol oil care centers.” (See Petition, Doc. #1-1, ¶¶ 22-30, 35, 39.) This

core allegation sets the foundation for each claim asserted by Plaintiff against Shaman Botanicals.

(See id. ¶¶ 54, 62, 72, 82-84.) As discussed below, Plaintiff’s claims necessarily raise an issue of

federal law regarding operation and application of the Agricultural Act of 2014 (the “2014 Farm

Bill”) and the Agricultural Act of 2018 (the “2018 Farm Bill”).




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          The products at issue in this case are two 60-count bottles of concentrated hemp oil cap-

sules that Plaintiff allegedly purchased in July 2019. (Petition, Doc. #1-1, ¶¶ 7, 11.) These prod-

ucts were lawfully manufactured by a separate company (Elixinol LLC) outside the State of Mis-

souri using legally grown hemp. (Declaration of Stephen Vincent Sanders, attached as Exhibit 1,

¶ 2.) The products were delivered through interstate commerce from the State of Colorado for

eventual sale to Plaintiff by an independent retailer (Defendant RK Endeavors Springfield, LLC)

in Springfield, Missouri. (Id.)

          The Petition characterizes the hemp-based CBD products as “hemp extract” and targets

every aspect of Shaman Botanicals’ operation beginning with possession of the purported hemp

extract. 1 Paragraph 22 alleges that possession of hemp extract is controlled by Missouri’s Com-

prehensive Drug Control Act; Paragraphs 35 and 39 allege that Shaman Botanicals unlawfully

possessed hemp extract because it was not licensed by the State of Missouri as a “cannabidiol

care center”; and Paragraphs 54(b), 61 and 72(b) allege that Shaman Botanicals violated the Mis-

souri Merchandising Practices Act and Missouri common law by “[m]isrepresenting itself to the

public, including Plaintiff, as a business authorized by the State of Missouri to lawfully . . . pos-

sess hemp and hemp extract.” (See Doc. #1-1.)

          The Petition notes that Shaman Botanicals has its principal place of business in Kansas

City, Missouri. (Doc. #1-1 ¶ 2.) By alleging that Shaman Botanicals unlawfully possessed hemp-

based CBD products shipped to Missouri from Colorado, Plaintiff’s theory of liability necessarily

restricts Shaman Botanicals from ever receiving out-of-state product shipments at its Missouri

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    Shaman Botanicals denies that its hemp-based CBD products—including the concentrated hemp oil
    capsules allegedly purchased by Plaintiff—constitute “hemp extract” subject to the Missouri Depart-
    ment of Agriculture’s regulations regarding “cultivation and production facilities” and “cannabidiol oil
    care centers.” (See Sanders Decl, Ex. 1, ¶ 3.) For purposes of the remand motion, however, Plaintiff’s
    allegations in that regard are taken at face value.

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headquarters or otherwise using normal channels of interstate commerce to conduct its business.

With these and other allegations regarding unlawful distribution of hemp-based CBD products

(see, e.g., id. ¶¶ 54(c), (e), (h)-(i)), Plaintiff’s theory of liability seeks to establish a closed system

in which all activities culminating in the sale of hemp-based CBD products in Missouri must oc-

cur within the State in strict accordance with Missouri law.

         Plaintiff’s claims are inherently federal in nature because it is impossible to resolve those

claims without applying controlling federal law permitting transportation and shipment of hemp-

derived CBD products in interstate commerce. In the 2014 Farm Bill, low-THC industrial hemp

(i.e., the type used to make CBD products) was removed from the federal Controlled Substances

Act and States were allowed to establish agricultural pilot programs for hemp production. See 7

U.S.C. § 5940; see also United States v. Mallory, 372 F. Supp. 3d 377, 381-82 (S.D.W. Va. 2019)

(summarizing 2014 Farm Bill).

         The 2018 Farm Bill confirmed the removal of hemp and THC in hemp from the list of

controlled substances. See 21 U.S.C. § 802(16)(B)(i); id. § 812(c)(17). Significantly, the 2018

Farm Bill also expressly provides that States cannot “prohibit the transportation or shipment of

hemp or hemp products” lawfully produced in other States. Agricultural Improvement Act of

2018, Pub. L. No. 115-334, § 10114(b), 132 Stat. 4490, 4914 (2018). The General Counsel of the

United States Department of Agriculture recognizes that “this provision preempts State law to

the extent such State law prohibits the interstate transportation or shipment of hemp that has

been [lawfully produced].” Legal Opinion on Certain Provisions of the Agriculture Improvement

Act of 2018 Relating to Hemp, at 7 (May 28, 2019). 2


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    The Notice of Removal included a hyperlink to this opinion. (See Doc. #1 ¶ 7.) The opinion is also at-
    tached as Exhibit 1 to Plaintiff’s Suggestions in Support of Motion to Remand (See Doc. #7-1.)

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       The intent and practical implication of the 2018 Farm Bill is clear: it “allows for the inter-

state transportation and shipment of hemp in the United States.” Establishment of a Domestic

Hemp Production Program, 84 Fed. Reg. 58,522, 58,523 (Oct. 31, 2019). Plaintiff correctly as-

serts in his Motion to Remand that States retain some ability under the 2018 Farm Bill to regulate

hemp, but the power is limited: “the 2018 Farm Bill preserves the authority of States . . . to enact

and enforce laws regulating the production (but not the interstate transportation or shipment) of

hemp . . . .” Legal Opinion, Pltf’s Ex. 1 (Doc. #7-1), at 2. Because Plaintiff’s claims seek to apply

Missouri law in a manner that goes far beyond regulating the production of hemp within the State

by restricting possession/distribution of hemp-based CBD products manufactured and shipped

from outside the State, those claims are at odds with the 2018 Farm Bill. This demonstrates that

the claims necessarily raise an issue of federal law. See Franchise Tax Bd., 463 U.S. at 10 (“We

have often held that a case ‘arose under’ federal law where the vindication of a right under state

law necessarily turned on some construction of federal law.”); see also Stratienko v. Chattanooga-

Hamilton Cnty. Hosp. Auth., No. 1:08-CV-26, 2008 WL 11342543, at *2 (E.D. Tenn. June 13,

2008) (finding federal jurisdiction over state law claim that “cannot be resolved without deter-

mining the construction and application of federal law”).

       Plaintiff’s discussion of In re Dicamba Herbicide Litigation, No. 1:18-md-2820-SNLJ, 2018

WL 2447792 (E.D. Mo. May 31, 2018), misses the point. The claims in that case all stemmed

from the narrow and limited allegation that defendant “was negligent—under Missouri law—due

to product labeling shortcomings.” Id. at *2. Here, the claims are much broader—Plaintiff does

allege that the CBD capsules were “misbranded” because of information missing from the prod-

uct label (see, e.g., Doc. #1-1 ¶ 54(j)), but he also alleges tortious conduct based on unlawful pos-

session and distribution of the product (see, e.g., id. ¶¶ 54(a)-(i)). It is these additional claims,

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which comprise the vast majority of Plaintiff’s allegations, that implicate federal law and support

federal jurisdiction.

        Moreover, the peripheral federal issue in Dicamba involved a defense that was not certain

to be raised in that case. 2018 WL 2447792, at *3. The federal issue here is much different—it

speaks directly to the permissible contour and scope of Plaintiff’s claims, which are only actiona-

ble to the extent they do not interfere with transportation and shipment of hemp products via in-

terstate commerce. Dicamba is also of limited utility because the court in that case refused to go

beyond the pleadings in assessing the existence of a substantial federal question. Id. at *2. The

substantial-federal-question doctrine is an exception to the well-pleaded complaint rule the nor-

mally confines jurisdictional examination to the face of the petition/complaint. Pagidas, 2016 WL

11545018, at *4 (“In applying the Gunn test . . . , this Court need not restrict itself to the words

that [plaintiff] chose to use in her pleading. Rather, the Court may, indeed must, look beyond the

face of the complaint . . .”); see also Great Lakes Gas Transmission Ltd. P’ship v. Essar Steel Minn.,

LLC, No. 09-cv-3037(SRN/LIB), 2015 WL 3915687, at *7 (D. Minn. June 25, 2015); Stratienko,

2008 WL 11342543, at *3; Drawhorn v. Qwest Commc’ns Int’l, Inc., 121 F. Supp. 2d 554, 559-61

(E.D. Tex. 2000). Looking beyond the petition in this case highlights the substantial federal ques-

tion underpinning Plaintiff’s claims and demonstrates that the exercise of federal jurisdiction is

appropriate.

        Given the nature of Plaintiff’s claims and the core federal issue inherent in those claims,

the Court should find that the first requirement for federal jurisdiction based on a substantial fed-

eral question is satisfied.

        The issue of federal law in this case is actually disputed and substantial. The motion

papers highlight the parties’ significant difference of opinion regarding interpretation and appli-

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cation of the 2018 Farm Bill, which goes to the heart of a significant federal interest in preventing

state law from impeding on interstate commerce. United States v. Le, 902 F.3d 104, 113 (2d Cir.

2018) (“Regulating the instrumentalities of interstate commerce is also a matter of strong federal

interest, one not traditionally left principally to the States.” (internal citations omitted)); see also

Kassel v. Consolidated Freightways Corp. of Del., 450 U.S. 662, 670 (1981) (noting that the Com-

merce Clause is a “prolific source of national power and an equally prolific source of conflict with

legislation of the states” and that a State “trespasses upon national interests” when it interferes

with interstate commerce).

       Under the circumstances, the Court should easily find that the second and third require-

ments for federal jurisdiction are satisfied because this case involves an actual dispute concerning

a substantial federal issue. See, e.g., Dooley, 39 F. Supp. 3d at 986 (finding actual and substantial

dispute concerning interpretation of federal statutes).

       The issue of federal law in this case is capable of resolution in federal court without

disrupting the federal-state balance approved by Congress. The substantial-federal-question

doctrine “captures the commonsense notion that a federal court ought to be able to hear claims

recognized under state law that nonetheless turn on substantial questions of federal law, and thus

justify resort to the experience, solicitude, and hope of uniformity that a federal forum offers on

federal issues.” Grable, 545 U.S. at 312. Matters of interstate commerce are historically reserved

for federal determination and are best considered in federal court. See Milan Express Co., Inc. v.

W. Sur. Co., 886 F.2d 783, 787 (6th Cir. 1989) (“The historical federal interest in the regulation

of interstate commerce persuades us that plaintiffs’ claims . . . should be heard in a federal forum

that possesses substantial expertise in matters of interstate commerce.”).




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       Here, the importance of a federal forum is magnified because the 2018 Farm Bill is newly

adopted and open to novel questions of interpretation. This Court is best suited to consider the

interplay between the 2018 Farm Bill and Plaintiff’s claims in this case in a manner that will pro-

mote national uniformity, provide definitive resolution and respect the historical federal interest

in matters of interstate commerce.

       Given the substantial and unique federal interest in matters of interstate commerce, cou-

pled with the fact that exercising federal jurisdiction on the specific facts of this case is not likely

to open the flood gates to federal court, the Court should find that the fourth requirement for

federal jurisdiction is satisfied because this case is capable of resolution in federal court without

disrupting the federal-state balance approved by Congress. See Mitchell v. Osceola Farms Co., 408

F. Supp. 2d 1275, 1280 (S.D. Fla. 2005) (exercising federal jurisdiction based on substantial fed-

eral question of immigration regulation, which “would not open the flood gates and disturb any

congressionally approved balance of federal and state judicial responsibilities”).

       Although cases satisfying the substantial-federal-question doctrine may be the exception,

the Eighth Circuit recognizes that “[i]f [the plaintiff’s] right to relief necessarily depends on the

resolution of a disputed and substantial question of federal law, then the district court correctly

denie[s] [a] motion to remand.” Cent. Iowa Power Co-op v. Midwest Indep. Transmission Sys. Oper-

ator, Inc., 561 F.3d 904, 912 (8th Cir. 2009). All requirements for federal jurisdiction under the

doctrine are satisfied in this case. The Court should therefore deny Plaintiff’s Motion to Remand

and keep jurisdiction over the matter. See Hickman v. Alpine Asset Mgmt. Grp., LLC, 919 F. Supp.

2d 1038, 1040-41 (W.D. Mo. 2013) (“[F]ederal courts should be equally vigilant to protect the

right to proceed in Federal court as to permit the state courts, in proper cases to retain their own

jurisdiction.”).

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II.    Even if the Court Grants the Motion to Remand, the Request for Fees and Expenses
       Should be Denied

       Plaintiff requests fees and expenses incurred as a result of improper removal pursuant to

28 U.S.C. § 1447(c). If the Court denies the motion to remand, it follows that this request should

also be denied. But even if the Court grants the motion to remand, it still should not award fees or

expenses to Plaintiff.

       “[A]bsent unusual circumstances, an award is appropriate ‘only where the removing par-

ty lacked an objectively reasonable basis for seeking removal. . . . [W]hen an objectively reasona-

ble basis exists, fees should be denied.’” Fisher v. Spire Mo., Inc., No. 4:18-00869-NKL, 2019 WL

927728, at *3 (W.D. Mo. Feb. 26, 2019) (quoting Martin v. Franklin Capital Corp., 546 U.S. 132,

141 (2005)). Here, the arguments and authorities outlined above demonstrate an objectively rea-

sonable basis for asserting federal jurisdiction under the substantial-federal-question doctrine.

Even in cases where courts have disagreed that a substantial federal question exists and a motion

for remand is granted, fee awards have been denied. See, e.g., Roller v. Glazer’s Distribs. of Mo.,

No. 4:16cv0022 CDP, 2016 WL 2609804, at *4 (E.D. Mo. May 6, 2016) (“Although the defend-

ants’ argument that a question of federal law was involved was not ultimately persuasive, they did

not lack an objectively reasonable basis for making the argument. Therefore, I will deny [the] mo-

tion for attorney fees.”). This Court should make a similar ruling in this case if it ultimately de-

cides to grant the motion to remand.

                                           Conclusion

       For the foregoing reasons, Defendant Shaman Botanicals, Inc. respectfully requests that

the Court deny Plaintiff’s Motion to Remand in all respects.




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                                             Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that the foregoing document was filed this 10th
day of December, 2019, via the Court’s CM/ECF system, which shall send electronic notice of
the same to the following counsel of record:

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